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                          IN THE UNITED STATES DISTRICT COURT
                          FOR THE NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

                                                         §
 DAVID SAMBRANO, individually, and                       §
 on behalf of all others similarly situated,             §
                                                         §
           Plaintiffs,                                   §
                                                         §       Civil Action No. 4:21-CV-01074-P
 V.                                                      §
                                                         §
 UNITED AIRLINES, INC.,                                  §
                                                         §
           Defendant.                                    §

          DEFENDANT UNITED AIRLINES, INC.'S OPPOSITION TO PLAINTIFFS'
              MOTION FOR A TEMPORARY RESTRAINING ORDER AND
                IMMEDIATE ENTRY OF PRELIMINARY INJUNCTION

          In their Motion for a Temporary Restraining Order and Immediate Entry of Preliminary

Injunction ("Motion"), the Plaintiffs abandon any pretense of compliance with the basic rules of

civil procedure, jurisdiction, and injunctive relief. By demanding that the Court issue an order

"immediately," Plaintiffs are asking this Court to ignore the following:

      •   The Fifth Circuit has not yet issued a mandate, and thus this Court currently lacks

          jurisdiction to address whether an injunction should be issued;

      •   United Airlines, Inc. ("United") has the right to and will be seeking en bane review, as

          Judge Smith's lengthy dissent expressly invites;

      •   This Court has already entered a TRO and an extension, and thus cannot issue another TRO

          under Rule 65, but instead should proceed only as to a preliminary injunction, with all of

          the factual findings that entails;

      •   There is currently a stay in place - one that the Plaintiffs themselves demanded - and no

          one has requested that it be lifted;


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    •    The Fifth Circuit majority opinion expressly adopts this Court's observation that "further

         briefing and evidentiary development was necessary," App. at 21 n.17, and that "[t]he

         district court on remand should consider the other elements necessary to support an

         injunction, including, of course, whether the plaintiffs are likely to succeed on the merits,"

         id. at 13 n.11; see also id. at 22;

    •    When those proceedings take place, United will prove up new facts - facts that arose

         subsequent to this Court's November 8 Order - that conclusively dispose of any

         conceivable argument that the Plaintiffs can show the kind of ongoing "coercive choice"

         that the panel majority identified as the only form of harm at issue here. Both Captain

         Sambrano and Ms. Kincannon have been offered the option of returning to work and both

         have declined; and

    •    Plaintiffs are apparently still demanding some sort of ad hoc class-wide relief despite the

         fact that the Court has yet to resolve any questions of class certification. There is no basis

         whatsoever for such relief.

                                             *        *        *         *

         To be clear, United does not object to prompt proceedings if and when a mandate issues

on the panel majority's ruling. But there is no basis for the kind of "shade tree justice" - ignoring

all of the usual rules - that the Plaintiffs desire. 1 App. at 78.




         1
            Plaintiffs also failed to comply with this Court's local rules by meeting and conferring with United before
filing this motion. Although United would have, of course, opposed immediate injunctive relief for the reasons set
forth here, Plaintiffs short circuited a process that could have narrowed the issues for this Court or, alternatively,
resulted in an agreed-upon and orderly process for the parties to appropriately respond when the Fifth Circuit
concludes its work.
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                                                   ARGUMENT

l.        Jurisdiction. It is black-letter law that filing of a notice of appeal divests the district court

of jurisdiction of the order appealed from, which does not return until the Court of Appeals'

mandate issues. See, e.g., Arenson v. S. Univ. L. Ctr., 963 F.2d 88, 90 (5th Cir. 1992) ("The district

court regained jurisdiction over the case upon our issuance of the mandate."); BHTT Ent., Inc. v.

Brickhouse Cafe & Lounge, L.L.C., 858 F.3d 310,313 (5th Cir. 2017) (observing that the "mandate

is the jurisdictionally significant document" and controls whether the district court or court of

appeals retains jurisdiction); 16AA Wright & Miller, Federal Practice and Procedure§ 3987, p. 2

(5th ed. 2021) ("Until the mandate issues ... the case ordinarily remains within the jurisdiction of

the court of appeals and the district court lacks power to proceed further with respect to the matters

involved with the appeal."); see also Kusay v. United States, 62 F.3d 192, 195-96 (7th Cir. 1995)

(Easterbrook, J.) (finding before "the issuance of the mandate" the district court "lack[s]

adjudicatory power" and its "proceedings are a nullity"); Coastal Corp. v. Texas E. Corp., 869

F.2d 817, 820 (5th Cir. 1989) (explaining that until the appellate mandate, the district court only

has the power to "preserve the status quo of the case as it sat before the court ofappeal").2

          In this case, the Fifth Circuit majority has not issued a mandate. It is scheduled to issue on

March 11, 2022. In the meantime, United intends to seek en bane review, and given Judge Smith's

60-page dissent expressly calling for reconsideration by the full court, it would be particularly

inappropriate for this Court to short circuit that process with a TRO or Preliminary Injunction that

alters the status quo before the Fifth Circuit finishes its work. See App. at 78 n. 95 ("[B]y today's

ruling, the Good Ship Fifth Circuit is afire. We need all hands on deck.").



          2
            The case went to the Fifth Circuit without any injunction, and a panel affirmed this Court's decision not to
issue an injunction pending appeal. See Sambrano v. United Airlines, Inc., No. 21-11159, 2021 WL 5881819, at *l
(5th Cir. Dec. 13, 2021).
Defendant's Opposition to Plaintiffs' Motion for Temporary Restraining Order and Immediate Entry
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2.       Another TRO Would Be Improper. Even apart from the lack of jurisdiction, a TRO cannot

lawfully be entered. Federal Rule of Civil Procedure 65(b)(2) is quite clear that a TRO can be

sustained for at most a period "not to exceed 14 days," with a single extension of "a like period."

Accordingly, a TRO cannot be entered for a period of more than 28 days, or else it converts into a

preliminary injunction (which is immediately appealable under 28 U.S.C. § 1292(a)). See, e.g.,

Connell v. Dulien Steel Prods., Inc., 240 F.2d 414,417 (5th Cir. 1957); see also Riels v. Bank of

America, NA., No. 2:14cv57-KS-MTP, 2014 WL 4964185, at *2 (S.D. Miss. Oct. 3, 2014);

Chicago United Indus., Ltd. v. City ofChicago, 445 F.3d 940,946 (7th Cir. 2006); 16 Charles Alan

Wright & Arthur R. Miller, Federal Practice and Procedure§ 3922.1 (3d ed. 2019). That is true,

moreover, regardless of whether the TRO is issued without notice to the adverse party or not.

Connell, 240 F .2d at 417.

         In this case, the full 28-day period has already been exhausted by first issuing and then

renewing a TRO, before ultimately denying the Preliminary Injunction, and the Court would

therefore violate Rule 65 by issuing any further temporary injunctive relief without making

complete findings as required by that Rule.3 And any injunctive relief the Court orders- no matter

how it is styled-would be immediately appealable, as of right.




         3
           To be sure, a TRO, no less than a preliminary injunction, requires plaintiffs "to establish (I) there is a
substantial likelihood that the movant will prevail on the merits; (2) a substantial threat of irreparable harm; (3) the
balance of hardships weighs in the movant's favor; and (4) the issuance of the preliminary injunction will not
disserve the public interest .... see also Fed. R. Civ. P. 65; Hassani v. Napolitano, No. 3:09-cv-1201-D, 2009 WL
2044596, at* l (N.D. Tex. 2009) (Fitzwater, J.) (explaining that a TRO is "simply a highly accelerated and
temporary form of preliminary injunctive relief," which requires that the party seeking such relief to establish the
same four elements for obtaining a preliminary injunction)." BNSF Ry. Co. v. Int 'l Ass 'n ofSheet Metal, Air, Rail,
& Transp. Workers, No. 4:21-cv-00432-P, 2021 WL 2695141, at *2 (N.D. Tex. Mar. 19, 202l)(Pittman, J.); accord
Turner v. Epps, 460 Fed. Appx. 322, 325 n.3 (5th Cir. 2012). Thus, even aside from the 28-day limit, it would be
legal error to grant a TRO without a ruling as to all fo ur factors of the injunctive-relief standard. See id


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3.      The Case is Stayed. On December 7, 2021, the Court issued an Order staying these

proceedings "until 21 days after the Fifth Circuit resolves plaintiffs' pending appeal." ECF No.

128. The Plaintiffs themselves sought that stay, and now they come back demanding immediate

relief without so much as an acknowledgement that a stay is in place.

4.      The Facts Have Changed. Plaintiffs' motion is premised on the notion that they are

continuing to suffer the one form of "irreparable harm" identified by the Fifth Circuit, i.e., being

"continually subjected to a coercive choice between pay and adhering to religious convictions."

App. at 19. However, United will show that the only two individuals covered by the panel

majority's opinion - Captain Sambrano and Ms. Kincannon - are no longer suffering any such

harm. As to them, the facts have significantly changed since the record closed on appeal. On

January 3, 2022, United offered Captain Sambrano a "special assignment" where he would have

earned the same or better compensation and benefits as his regular job. See App. at 83 ,r,r 2,5; 87-

88.   He declined.     Id. at 94.     Likewise, Ms. Kincannon, like all other unvaccinated Flight

Attendants, has been offered and has the option of taking any one of a wide variety of alternative

non-customer facing roles where she could continue earning a paycheck at United, but has failed

to take that opportunity. See App. at 83       ,r 5; 86; 90-91.    Thus, they no longer face a "coercive

choice" between accepting a vaccine and losing a paycheck.

5.      United Is Likely to Succeed on Other Injunctive Elements. As the Fifth Circuit majority

(and the dissent) recognized, this Court has not yet made any rulings on the other injunctive relief

factors: likelihood of success, balance of the equities, or public interest. The Fifth Circuit majority

expressly "only address[ed] the irreparable-injury prong" and directed this Court to "consider the

other elements necessary to support an injunction." App. at 13 n.11.




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        As things currently stand, Judge Smith is the only judge to have evaluated these other

essential elements. After reviewing the record evidence and briefing Judge Smith concluded that,

even accepting the full force of the majority's opinion: plaintiffs "do not answer United's defenses,

so they have not shown that they are likely to win. And if they had shown that, the equities and

the public interest would preclude an injunction." App. at 23 (Smith, J., dissenting); see also id,

at 63-64 (concluding United has satisfied Title VII's "low bar" for the undue hardship defense);

id. at 68 (concluding "[t]he equities disfavor injunctive relief' because "[a]n injunction will force

United to bear unrecoverable costs that far exceed the plaintiffs' irreparable harm"); id. at 71

(concluding that "[a]n injunction would disserve the public interest").

        Even if the Court believes that it might disagree with Judge Smith, his views deserve

respectful attention. The judicial process and fairness to all parties would be served by proceedings

that allow a full airing of the current facts (as Plaintiffs themselves appear to recognize in arguing

that the pandemic may be receding).

6.      Scope of Relief Cannot Extend Beyond Two Named Plaintiffs. Finally, even if the

Plaintiffs could overcome all of the barriers set forth above, any injunctive relief at this time must

be limited to Ms. Kincannon and Captain Sambrano. As the Fifth Circuit just made clear, most

United employees cannot have irreparable injury at all. That is why the Fifth Circuit only reversed

as to "plaintiffs, Sambrano and Kincannon" (who the Court then refers to as plaintiffs throughout

its opinion). App. at 6 n.6. It was only those plaintiffs who, accordingly to the majority, "are

being subjected to ongoing coercion based on their religious beliefs." Id at 6-7. Accordingly, the

majority explained, "[w ]e do not reverse the district court as to any plaintiffs who have been

provided other accommodations and are not on unpaid leave." Id. at 6 n.6. That would include at




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least all of those employees given on-the-job accommodations (the non-customer facing

employees).

         And even as to other pilots and flight attendants, the nature of the coercive injury the

Fifth Circuit relied on underscores why it is improper to grant relief to absent class members prior

to class certification-an issue on which the parties have sharply joined issue in their briefing and

has wide-ranging implications beyond this case. The Court cannot simply assume that absent

individuals it knows nothing about are being "continually subjected to a coercive choice." App. at

19. Indeed, the Court cannot even be confident it has personal jurisdiction over those absent class

members, which is another reason it cannot issue them any injunctive relief. 4 Nor can the Court

grant class-wide relief before certifying a Rule 23-compliant class, which would be unprecedented

in a Title VII and ADA reasonable accommodation case and flout Fifth Circuit and Supreme Court

caselaw, for all the reasons United has already briefed.

                                                   CONCLUSION

         For the foregoing reasons, as well as those stated in previous briefing, Plaintiffs' Motion

for a Temporary Restraining Order and Immediate Entry of Preliminary Injunction ("Motion")

must be denied.




         4
           The need to limit any injunctive relief to Kincannon and Sambrano is underscored by the fact that this
Court dismissed Captain Turnbough from the case because he neither lives nor works in Texas and there are
numerous absent class members in the same position. The Court expressly deferred its consideration ofUnited's
personal jurisdiction challenge to those absent class members until class certification and any injunctive relief now
would likewise ignore that jurisdictional issue.
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Dated: February 18, 2022




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                                     CERTIFICATE OF SERVICE

        On February 18, 2022, I electronically submitted the foregoing document with the clerk of
court for the U.S. District Court, Northern District of Texas, using the electronic case filing system
of the court. I hereby certify that I have served all counsel and/or pro se parties of record
electronically or by another manner authorized by Federal Rule of Civil Procedure 5(b)(2).


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